  Case 19-03321            Doc 19   Filed 03/05/19 Entered 03/05/19 13:58:39        Desc Main
                                      Document     Page 1 of 3


                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

In Re:                                               )      Case No. 19 B 03321
                                                     )
CATRELL BELL,                                        )      Chapter 13
                                                     )
                  Debtor.                            )      Hon. LaShonda A. Hunt

          OBJECTION OF MERCEDES-BENZ FINANCIAL SERVICES USA LLC
          TO CONFIRMATION OF DEBTOR’S PROPOSED CHAPTER 13 PLAN

         MERCEDES-BENZ FINANCIAL SERVICES USA LLC (“Mercedes”), a creditor

herein, by its attorneys, the law firm of Sorman & Frankel, Ltd., pursuant to Sections

1325(a)(5)(B), 1325 (a)(9), and 1326(a)(1) of the Bankruptcy Code, 11 U.S.C. §§1325(a)(5)(B),

1325 (a)(9), and 1326(a)(1) (West 2019), and such other Sections and Rules as may apply, for its

Objection to Confirmation of Debtor’s proposed Chapter 13 Plan, respectfully states as follows:

         1. On February 8, 2019, Catrell Bell (“Debtor”) filed a Voluntary Petition for Relief

under Chapter 13 of the Bankruptcy Code and proposed Chapter 13 Plan (the “Plan”), which is

scheduled for a confirmation hearing on April 8, 2019.

         2. Mercedes is a creditor of the Debtor with respect to a certain indebtedness secured by

a lien upon a 2012 Mercedes-Benz E350 motor vehicle bearing a Vehicle Identification Number

of WDDHF8JBXCA613859 (the “Vehicle”). (See Ex. “A”). Debtor purchased the Vehicle on

December 20, 2014.

         3. As set forth in the Retail Installment Contract attached as Exhibit “A”, Debtor was

required to tender equal monthly payments to Mercedes, each in the sum of $725.30 with an

interest rate of 2.99%. (See Ex. “A”).




Mercedes/Bell/Objection to Plan
                                                 1
  Case 19-03321            Doc 19   Filed 03/05/19 Entered 03/05/19 13:58:39         Desc Main
                                      Document     Page 2 of 3


         4. Debtor has not provided Mercedes or its counsel with proof of a valid full coverage

insurance policy for the Vehicle identifying Mercedes as the lienholder/loss payee to protect

Mercedes’ interest in the Vehicle from loss or destruction.

         5. There remains a total outstanding balance due to Mercedes from Debtor in the sum of

$7,857.44.

         6. Debtor’s Plan identifies Mercedes as a secured creditor in Section 3.3 and provides

for a secured claim of $9,281.00 to be paid at 0.00% interest with monthly payments of $725.00

to be made by Debtor.

         7. To the extent that Debtor wishes to pay this claim directly, Mercedes asserts that it is

entitled to be paid at its contractual terms: an interest rate of 2.99% with monthly payments of

$725.30.

         8. In addition to the foregoing, Debtor’s Plan does not protect Mercedes’ right to retain

its lien on the Vehicle. As such, Mercedes requests that language be added to Section 8 of the

Plan stating that Mercedes shall retain its lien until payment of the underlying debt in full as

determined under nonbankruptcy law.

         9. For the reasons stated above, Debtor’s Plan fails to comply with the applicable

provisions of the Bankruptcy Code and must provide for and satisfy the objections specified

herein to be feasible and provide Mercedes adequate protection.




Mercedes/Bell/Objection to Plan
                                                  2
  Case 19-03321            Doc 19   Filed 03/05/19 Entered 03/05/19 13:58:39         Desc Main
                                      Document     Page 3 of 3


         WHEREFORE, Mercedes-Benz Financial Services USA LLC respectfully requests that

this Court enter an Order, as denying Debtor’s request for confirmation of the Plan; and, for such

other, further, and different relief as this Court deems just and proper.

                                               Respectfully submitted,

                                               MERCEDES-BENZ             FINANCIAL    SERVICES
                                               USA LLC,
                                               Creditor,

                                               By: ___/s/ Cari A. Kauffman___
                                               One of its attorneys
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Mercedes/Bell/Objection to Plan
                                                  3
